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                          UNITED STATES DISTRICT COURT
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                      FOR THE NORTHERN DISTRICT OF ILLINOIS MICHUA.SE.LDW
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                                EASTERN DIVISION

CRAIG LAWRENCE, and                              )
ALBERTO HINOJOSA,                                )
                                                 )
                               Plaintiffs,       )      No. 11 C 67
                                                 )
               vs.                               )      Judge Zagel
                                                 )      Magistrate Judge Gilbert
CITY OF CHICAGO,                                 )
Chicago Police Officers                          )
NICOLAS GARCIA, Star 9358,                       )      Jury Demand
RUBEN MARTINEZ JR., Star 19547,                  )
SERGIO ESCOBEDO, Star 11634,                     )
RICHARD MAHER, Star 1478, and                    )
JOSE MARQUEZ,                                    )
                                                 )
                               Defendants.       )

                                FIRST AMENDED COMPLAINT

       1.      This is an action for money damages brought pursuant to 42 U.S.C. § 1983, and
the common law and statutes of the State of Illinois.
       2.      Jurisdiction for Plaintiffs’ federal claims are based on 28 U.S.C. §§ 1331 and
1343(a). Jurisdiction for Plaintiffs’ state claims are based on supplemental jurisdiction pursuant
to 28 U.S.C. § 1367(a).
       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that the claims
arose in this district as alleged below.
                                              Parties
       4.      Plaintiff Craig LAWRENCE is a resident of Arlington Heights, Illinois.
       5.      Plaintiff ALBERTO HINOJOSA is a resident of Chicago.
       6.      Defendant-Officers NICOLAS GARCIA, RUBEN MARTINEZ JR., SERGIO
ESCOBEDO, and RICHARD MAHER are duly appointed and sworn Chicago police officers. At
all times relevant to this Complaint, the Defendant-Officers were acting in the course and scope
of their employment, and under color of state law, ordinance and/or regulation.

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       7.      The Defendant-Officers are sued in their individual capacities.
       8.      Defendant CITY OF CHICAGO is a municipal corporation, duly incorporated
under the laws of the State of Illinois, and is the employer and principal of the Defendant-
Officers.
       9.      Defendant JOSE MARQUEZ is a resident of Chicago.


                                               Facts
       10.     On or about May 13, 2010, at approximately 5:00 p.m., Plaintiffs CRAIG
LAWRENCE and ALBERTO HINOJOSA were investigating the theft of a vehicle owned by
HINOJOSA.
       11.     HINOJOSA hired LAWRENCE, a licensed private investigator, to locate the
vehicle.
       12.     LAWRENCE is licensed with the State of Illinois to carry a weapon while
working.
       13.     Through investigation, LAWRENCE located HINOJOSA’s vehicle parked in a
driveway at 2337 South Millard Avenue in Chicago.
       14.     LAWRENCE, HINOJOSA and HINOJOSA’s friend, Jose Nava, went to 2337
South Millard to get the vehicle back.
       15.     LAWRENCE spoke with residents at 2337 South Millard regarding the vehicle.
       16.     The residents told LAWRENCE that Defendant JOSE MARQUEZ rents the
driveway where the vehicle was located.
       17.     LAWRENCE contacted MARQUEZ and told MARQUEZ that he is a private
investigator investigating the ownership of the vehicle parked at 2337 South Millard.
       18.     MARQUEZ agreed to meet LAWRENCE at 2337 South Millard to speak with
LAWRENCE about the vehicle.
       19.     When MARQUEZ arrived, LAWRENCE questioned him about where and how
he obtained the vehicle.
       20.     When MARQUEZ would not give LAWRENCE a straight answer or produce
documents related to the vehicle, LAWRENCE told MARQUEZ that he was going to call the


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police.
          21.   MARQUEZ told LAWRENCE not to call the police and that he would drive
home and get the documentation for the vehicle.
          22.   LAWRENCE told MARQUEZ that he would follow him back to MARQUEZ’s
home.
          23.   Prior to leaving 2337 South Millard, LAWRENCE called 911 and reported that he
needed police assistance because he had located a stolen vehicle.
          24.   LAWRENCE told HINOJOSA and Nava to stay at 2337 South Millard and wait
for the police while he followed MARQUEZ back to MARQUEZ’s home.
          25.   LAWRENCE got into his vehicle and followed MARQUEZ to his home.
          26.   LAWRENCE could see MARQUEZ talking with someone on his cellular phone
while en route to MARQUEZ’s home.
          27.   When they arrived at MARQUEZ’s home, MARQUEZ got out of his vehicle and
handed LAWRENCE his cellular phone.
          28.   MARQUEZ told LAWRENCE to talk with the individual on the phone.
          29.   LAWRENCE took the phone from MARQUEZ and spoke with the individual on
the phone.
          30.   Upon information and belief, the individual on the phone was Defendant SERGIO
ESCOBEDO, a Chicago police officer.
          31.   ESCOBEDO asked LAWRENCE who he was and what he was doing.
          32.   LAWRENCE told ESCOBEDO that he was a private investigator and was
investigating a stolen vehicle.
          33.   LAWRENCE then told ESCOBEDO that he had called the police.
          34.   ESCOBEDO told LAWRENCE “good,” and LAWRENCE gave the phone back
to MARQUEZ.
          35.   MARQUEZ spoke to ESCOBEDO in Spanish and ended the phone call.
          36.   MARQUEZ told LAWRENCE that he would meet him back at 2337 South
Millard with his paper work for the vehicle.
          37.   MARQUEZ got back into his vehicle and started driving back toward 2337 South


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Millard.
          38.   LAWRENCE followed MARQUEZ back towards 2337 South Millard.
          39.   MARQUEZ did not go straight back to 2337 South Millard.
          40.   LAWRENCE went back to 2337 South Millard to speak with the police that he
had called.
          41.   When LAWRENCE got back to 2337 South Millard, HINOJOSA told
LAWRENCE that a Chicago police car had responded to the 911 call but left without taking a
report.
          42.   A short time later, Defendant RICHARD MAHER , a Chicago police sergeant
working beat 1010, arrived at 2337 South Millard.
          43.   MAHER asked LAWRENCE what was going on.
          44.   LAWRENCE explained to MAHER that he was a private investigator and was
investigating a stolen vehicle.
          45.   MARQUEZ arrived back at 2337 South Millard with ESCOBEDO in his vehicle.
          46.   ESCOBEDO had his Chicago police uniform on under a sweatshirt.
          47.   At this time, Defendants GARCIA and MARTINEZ arrived at 2337 South
Millard in a marked Chicago police car.
          48.   ESCOBEDO got out of MARQUEZ’s vehicle and spoke with MAHER.
          49.   MAHER again asked what LAWRENCE was doing and asked LAWRENCE to
produce his identification.
          50.   LAWRENCE provided his identification and all of his credentials to MAHER.
          51.   At this time, LAWRENCE, HINOJOSA, and Nava observed ESCOBEDO,
GARCIA and MARTINEZ speaking with MARQUEZ.
          52.   ESCOBEDO told MARQUEZ to claim that LAWRENCE said he was a police
officer in order to manufacture false charges against Plaintiffs.
          53.   Neither LAWRENCE nor HINOJOSA told MARQUEZ that they were police
officers.
          54.   GARCIA and MARTINEZ walked over to LAWRENCE and informed him that
he was under arrest.


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       55.     One of the Defendant-Officers handcuffed LAWRENCE and took his gun.
       56.     One of the Defendant-Officers handcuffed HINOJOSA.
       57.     The Defendant-Officers told LAWRENCE and HINOJOSA that they were under
arrest for impersonating police officers.
       58.     There was not probable cause or any other legal justification to arrest Plaintiffs for
impersonating police officers.
       59.     LAWRENCE and HINOJOSA were transported to the 10th District police station.
       60.     LAWRENCE and HINOJOSA were interrogated by detectives.
       61.     LAWRENCE and HINOJOSA explained what they were doing and that they
never claimed to be police officers
       62.     LAWRENCE told the detectives that he had called 911 and requested the police.
       63.     Upon information and belief, the detectives listened to LAWRENCE’s call to 911.
       64.     After listening to the 911 call, the detective informed LAWRENCE and
HINOJOSA that they would not charge them with impersonating police officers.
       65.     HINOJOSA was released from custody.
       66.     GARCIA signed a complaint alleging that LAWRENCE was carrying a weapon in
violation of 720 ILCS 5/24-3.1. The case was docketed in the Cook County Circuit Court as:
People v. Craig Lawrence, 10231167.
       67.     LAWRENCE was not in violation of 720 ILCS 5/24-3.1.
       68.     On June 2, 2010, the charge against LAWRENCE was Nolled.
       69.     On June 30, 2010, LAWRENCE’s weapon was finally returned.
       70.     Defendants ESCOBEDO, MAHER, GARCIA, MARTINEZ, and MARQUEZ
conspired and acted together to falsely arrest LAWRENCE and HINOJOSA without probable
cause or legal authority.
       71.     After HINOJOSA and LAWRENCE were released, they went back to 2337 South
Millard.
       72.     HINOJOSA’s vehicle was no longer there.
       73.     Each individual Defendant acted willfully and wantonly, maliciously, and with a
conscious disregard and deliberate indifference to Plaintiffs’ rights.


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       74.      Each individual Defendant personally participated in the unlawful conduct, and
acted jointly and in concert with the other Defendants who participated or acquiesced in the
unlawful conduct.
       75.      As a direct and proximate result of the acts of the Defendants described above,
Plaintiffs suffered damages including loss of physical liberty, emotional distress, and pecuniary
damages including attorneys’ fees.


                                           COUNT I
                                (42 U.S.C. § 1983 – False Arrest)

       76.      Plaintiff CRAIG LAWRENCE realleges paragraphs 1 through 75 as if fully set
forth herein.
       77.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ arrested
LAWRENCE.
       78.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ did not
have an arrest warrant, probable cause, or any other legal justification to arrest LAWRENCE.
       79.      The arrest of LAWRENCE without any legal justification or probable cause
violated his Fourth Amendment right, as guaranteed by the Fourteenth Amendment, to be free
from unreasonable seizures.
       WHEREFORE, Plaintiff CRAIG LAWRENCE asks that this Honorable Court:
       a)       Enter judgment against Defendant-Officers ESCOBEDO, MAHER, GARCIA and
                MARTINEZ,
       b)       Award Plaintiff compensatory and punitive damages,
       c)       Award attorneys’ fees and costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.


                                           COUNT II
                            (42 U.S.C. § 1983 – Failure to Intervene)

       80.      Plaintiff CRAIG LAWRENCE realleges paragraphs 1 through 75 as if fully set
forth herein.

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       81.      While LAWRENCE was subjected to a false arrest as described above,
Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ had an opportunity to
intervene, but chose not to intervene.
       82.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ were
deliberately indifferent to LAWRENCE’s right to be free from unreasonable seizures.
       WHEREFORE, Plaintiff CRAIG LAWRENCE ask that this Honorable Court:
       a)       Enter judgment against Defendant-Officers ESCOBEDO, MAHER, GARCIA and
                MARTINEZ,
       b)       Award Plaintiffs compensatory and punitive damages,
       c)       Award attorneys’ fees and costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.


                                          COUNT III
                                (42 U.S.C. § 1983 – False Arrest)

       83.      Plaintiff ALBERTO HINOJOSA realleges paragraphs 1 through 75 as if fully set
forth herein.
       84.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ arrested
HINOJOSA.
       85.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ did not
have an arrest warrant, probable cause, or any other legal justification to arrest HINOJOSA.
       86.      The arrest of HINOJOSA without any legal justification or probable cause
violated his Fourth Amendment right, as guaranteed by the Fourteenth Amendment, to be free
from unreasonable seizures.
       WHEREFORE, Plaintiff ALBERTO HINOJOSA asks that this Honorable Court:
       a)       Enter judgment against Defendant-Officers ESCOBEDO, MAHER, GARCIA and
                MARTINEZ,
       b)       Award Plaintiff compensatory and punitive damages,
       c)       Award attorneys’ fees and costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.

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                                           COUNT IV
                            (42 U.S.C. § 1983 – Failure to Intervene)

        87.     Plaintiff ALBERTO HINOJOSA realleges paragraphs 1 through 75 as if fully set
forth herein.
        88.     While HINOJOSA was subjected to a false arrest as described above, Defendant-
Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ had an opportunity to intervene, but
chose not to intervene.
        89.     Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ were
deliberately indifferent to HINOJOSA’s right to be free from unreasonable seizures.
        WHEREFORE, Plaintiff ALBERTO HINOJOSA asks that this Honorable Court:
        a)      Enter judgment against Defendant-Officers ESCOBEDO, MAHER, GARCIA and
                MARTINEZ,
        b)      Award Plaintiffs compensatory and punitive damages,
        c)      Award attorneys’ fees and costs, and
        d)      Award any further relief that this Honorable Court deems just and equitable.



                                            COUNT V
                              (42 U.S.C. § 1983 – Civil Conspiracy)

        90.     Plaintiffs reallege paragraphs 1 through 75 as if fully set forth herein.
        91.     Defendants ESCOBEDO, MAHER, GARCIA, MARTINEZ, and MARQUEZ
worked together in a common plan to falsely arrest Plaintiffs
        92.     Plaintiffs suffered harm and injury as a result of Defendants ESCOBEDO,
MAHER, GARCIA, MARTINEZ, and MARQUEZ’s conspiracy to deprive them of their
constitutional rights.
        WHEREFORE, Plaintiffs ask that this Honorable Court:
        a)      Enter judgment against Defendants ESCOBEDO, MAHER, GARCIA,
                MARTINEZ, and MARQUEZ,
        b)      Award Plaintiff compensatory and punitive damages,


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       c)       Award attorneys’ fees and costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.

                                          COUNT VI
                               (State Law Claim for False Arrest)

       93.      Plaintiff CRAIG LAWRENCE realleges paragraphs 1 through 75 as if fully set
forth herein.
       94.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ arrested
LAWRENCE without probable cause.
       WHEREFORE, Plaintiff CRAIG LAWRENCE asks that this Honorable Court:
       a)       Enter judgment against Defendant-Officers,
       b)       Award Plaintiff compensatory and punitive damages,
       c)       Award costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.


                                         COUNT VII
                               (State Law Claim for False Arrest)

       95.      Plaintiff ALBERTO HINOJOSA realleges paragraphs 1 through 75 as if fully set
forth herein.
       96.      Defendant-Officers ESCOBEDO, MAHER, GARCIA and MARTINEZ arrested
HINOJOSA without probable cause.
       WHEREFORE, Plaintiff ALBERTO HINOJOSA asks that this Honorable Court:
       a)       Enter judgment against Defendant-Officers,
       b)       Award Plaintiff compensatory and punitive damages,
       c)       Award costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.




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                                        COUNT VIII
                         (State Law Claim for Malicious Prosecution)

       97.      Plaintiff CRAIG LAWRENCE realleges paragraphs 1 through 75 as if fully set
forth herein.
       98.      Defendant-Officer GARCIA signed a complaint alleging that LAWRENCE was
carrying a weapon in violation of 720 ILCS 5/24-3.1.
       99.      There was not probable cause for such charges.
       100.     The charges were terminated in a manner favorable to LAWRENCE.
       WHEREFORE, Plaintiff CRAIG LAWRENCE asks that this Honorable Court:
       a)       Enter judgment against Defendant-Officer GARCIA,
       b)       Award Plaintiff compensatory and punitive damages,
       c)       Award costs, and
       d)       Award any further relief that this Honorable Court deems just and equitable.


                                         COUNT IX
                            (State Law Respondeat Superior Claim)

       101.     The acts of the Defendant-Officers described in the above state-law claims for
false arrest, and malicious prosecution were willful and wanton, and committed in the scope of
employment.
       102.     Pursuant to respondeat superior, Defendant CITY OF CHICAGO is liable for its
agents’ actions.
       WHEREFORE, Plaintiff demands judgment against Defendant CITY OF CHICAGO, and
such other and additional relief that this Honorable Court deems just and equitable.

                                         COUNT X
                    (Indemnification Claim pursuant to 745 ILCS 10/9-102)

       103.     The acts of the Defendant-Officers described in the above claims were willful and
wanton, and committed in the scope of employment.
       104.     Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-102, Defendant CITY

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OF CHICAGO is liable for any judgments for compensatory damages in this case arising from
the Defendant-Officers’ actions.
       WHEREFORE, Plaintiffs ask that this Honorable Court order Defendant CITY OF
CHICAGO to indemnify the Defendant-Officers for any judgment for compensatory damages in
this case arising from their actions.


       Jury Trial Demanded


                                                 Respectfully submitted,

                                                 /s/ Louis J. Meyer
                                                 Counsel for the Plaintiffs




Louis J. Meyer
Meyer & Kiss, LLC
53 West Jackson Blvd., Suite 856
Chicago, Illinois 60604
(312) 765-0100




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